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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                      Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Venator Materials PLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   N/A


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       Hanzard Drive, Titanium House
                                       Number              Street                                     Number         Street

                                       Stockton on Tees
                                                                                                      P.O. Box
                                       Wynyard Park, TS22 5FD, United Kingdom
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.venatorcorp.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Venator Materials PLC                                               Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2819

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☒      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☒      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Venator Materials PLC                                                Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.       Debtor        See Rider 1                                      Relationship    Affiliate
    business partner or an
    affiliate of the debtor?                         District      Southern District of Texas
   List all cases. If more than 1,                                                                                  When            05/14/2023
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☒       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Venator Materials PLC                                              Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         05/14/2023
                                                             MM/ DD / YYYY


                                             /s/ Kurt Ogden                                                     Kurt Ogden
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Authorized Signatory




18. Signature of attorney                    /s/ Matthew D. Cavenaugh                                       Date        05/14/2023
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Matthew D. Cavenaugh
                                             Printed name
                                             Jackson Walker LLP
                                             Firm name
                                             1401 McKinney Street, Suite 1900
                                             Number                 Street
                                             Houston                                                                Texas             77010
                                             City                                                                   State               ZIP Code

                                             (713) 752-4200                                                         mcavenaugh@jw.com
                                             Contact phone                                                             Email address
                                             24062656                                            Texas
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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Official Form 201A (12/15)

                                            IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION

                                                                                )
 In re:                                                                         )   Chapter 11
                                                                                )
 VENATOR MATERIALS PLC,                                                         )   Case No. 23-[____] (___)
                                                                                )
                               Debtor.                                          )
                                                                                )

            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
          number is

               2.    The following financial data is the latest available information and refers to the debtor’s condition on



               (a)   Total assets                                                   $   $1,416,199,283
               (b)   Total debts (including debts listed in 2.c., below)            $   $1,533,063,723
               (c)   Debt securities held by more than 500 holders
                                                                                                                       Approximate
                                                                                                                       number of
                                                                                                                       holders:
               secured     ☐    unsecured     ☐    subordinated      ☐      $
               secured     ☐    unsecured     ☐    subordinated      ☐      $
               secured     ☐    unsecured     ☐    subordinated      ☐      $
               secured     ☐    unsecured     ☐    subordinated      ☐      $
               secured     ☐    unsecured     ☐    subordinated      ☐      $


               (d)   Number of shares of preferred stock
               (e)   Number of shares of common stock                                                                  108,791,900



               Comments, if any:




               3.    Brief description of debtor’s business:   Chemical Manufacturing



              4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
              voting securities of debtor:
          SK Praetorian Holdings, L.P.; J&T MS 1 SICAV a.s.; Huntsman Corporation; Dr. Barry B. Siadat




     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 5
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Venator Materials PLC.

 Venator Materials PLC
 Venator Americas Holdings LLC
 Venator Chemicals France SAS
 Venator Chemicals LLC
 Venator Finance S.à r.l.
 Venator France SAS
 Venator Germany GmbH
 Venator Group
 Venator Group Canada Inc.
 Venator Group Services Limited
 Venator Holdings Germany GmbH
 Venator International France SAS
 Venator International Holdings UK Limited
 Venator Investments Ltd
 Venator Investments UK Limited
 Venator Materials International UK Limited
 Venator Materials UK Limited
 Venator Materials LLC
 Venator P&A Finland Oy
 Venator P&A Holdings UK Limited
 Venator P&A Spain S.L.U.
 Venator Pigments France SAS
 Venator Uerdingen GmbH
 Venator Wasserchemie Holding GmbH
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    VENATOR MATERIALS PLC,                                            )   Case No. 23-[____] (___)
                                                                      )
                                  Debtor.                             )
                                                                      )

                                            LIST OF EQUITY SECURITY HOLDERS1

                                                                                             Percentage of
                  Equity Holder                       Address of Equity Holder
                                                                                              Equity Held
                                                         430 Park Ave., 18TH FL
             SK Praetorian Holdings, L.P.                                                        39.3%
                                                          New York, NY 10022
                                                           C/O Martin Seyček
                                                          Sokolovská, Prague 8
                J&T MS 1 SICAV a.s.                                                              14.3%
                                                            Czech Republic

                                                        10003 Woodloch Forrest Dr.
                  Huntsman Corp.                         The Woodlands, TX 77380                     9.0%




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 VENATOR MATERIALS PLC,                                       )   Case No. 23-[____] (___)
                                                              )
                            Debtor.                           )
                                                              )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                            Approximate Percentage of Shares Held
           SK Praetorian Holdings, L.P.                                   39.3%
              J&T MS 1 SICAV a.s.                                         14.3%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Venator Materials PLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       05/14/2023                                /s/ Kurt Ogden
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kurt Ogden
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                            MINUTES OF THE MEETING
                                      OF
                            THE BOARD OF DIRECTORS
                                      OF

                            VENATOR MATERIALS PLC

                                   May 13, 2023

      A meeting of the Board of Directors (the “Board”) of Venator Materials PLC (the
“Company”) was held virtually on May 13, 2023. The meeting commenced at
approximately 6:00 p.m., British Summer Time (“BST”).

      The following Directors participated in the meeting:

             Stefan Selig, Chairman
             Aaron Davenport
             Jame Donath
             Daniele Ferrari
             Peter Huntsman
             Heike van de Kerkhof
             Vir Lakshman
             Dr. Barry Siadat
             Simon Turner

      The following persons also participated in the meeting:

             Kurt Ogden, Executive Vice President and Chief Financial Officer
             Russ Stolle, Executive Vice President and General Counsel
             Sean Pettey, Associate General Counsel, Corporate
             David Faris, Moelis & Company
             Charles Noel-Johnson, Moelis & Company
             Stephen Aulsebrook, Moelis & Company
             Rahul Katoria, Moelis & Company
             Akshat Mathur, Moelis & Company
             Stef Leers, Moelis & Company
             Jamal Zul, Moelis & Company
             Mia Wang, Moelis & Company
             Christian Khoueiri, Moelis & Company
             Kon Asimacopoulos, Kirkland & Ellis LLP
             Hannah Crawford, Kirkland & Ellis LLP
             Steven Serajeddini; Kirkland & Ellis LLP
             Patrick Campbell; Kirkland & Ellis LLP
             Jeff Michalik; Kirkland & Ellis LLP
             Cindi Giglio; Katten Muchin Rosenman LLP
             Loredana Miranda, Katten Muchin Rosenman LLP
             Steven Reisman, Katten Muchin Rosenman LLP
             Mark Roitman, Katten Muchin Rosenman LLP
             Klaus Gerber; Alvarez & Marsal
             Bob Rajan; Alvarez & Marsal
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       Stefan Selig acted as Chairman of the meeting and Sean Pettey recorded the
minutes. The Chairman called the meeting to order, noting that a quorum of the Board
was present. He welcomed those in attendance and confirmed that Board members
had been able to access the materials for the meeting (the “Board Book”) on the
Diligent platform or via the pdf of the same materials that had been provided earlier in
the day to all Board members.

        The Chairman noted that the Board members had reviewed and considered
materials presented by the management of the Company and the Company’s financial
and legal advisers, including, but not limited to, materials regarding the liabilities and
obligations of the Company, its liquidity, strategic alternatives available to it and the
effect of the foregoing on the Company’s business, and has had adequate opportunity
to consult such persons regarding the materials presented, obtain additional
information and to fully consider each of the strategic alternatives available to the
Company.

       The Chairman reported that it was proposed that the Company enter into a
restructuring transaction or series of transactions whereby the Company and certain
other members of the Venator Group would restructure their debt obligations and
other liabilities (the “Restructuring”), implemented by way of an in-court process
under the provisions of chapter 11 (“Chapter 11”) of title 11 of the United States Code
(the “Bankruptcy Code”).

       At the Chairman’s request, Steven Serajeddini first gave an update on the
status of the current process and negotiations with lenders. He reported that they had
been able to reach a pre-packaged deal with the Company’s lenders, which would
make the restructuring process as quick and seamless as possible compared to other
Chapter 11 filing scenarios. Questions were asked and a discussion ensued.

       Mr. Serajeddini next explained that the terms of a restructuring support
agreement (the “Restructuring Support Agreement”) have been substantially agreed
between Venator, certain Venator Group entities which are obligors under the Venator
Group’s New York law governed funded debt (the “Debt”) (including the Company) and
certain lenders and/or noteholders of the Debt.

       At the Chairman’s request, Charles Noel-Johnson explained that the
transactions included in the Restructuring Support Agreement are intended to align
debt service obligations with projected cash flows, thereby optimising the Venator
group’s long-term capital structure and liquidity.

       Mr. Noel-Johnson then explained that Chapter 11 requires a Company
valuation at the time of filing and that Moelis & Company had undertaken a valuation
analysis to give an enterprise valuation range of approximately $550 million to $700
million. He noted that the plan value for the Company agreed among the creditor
group was $600 million, within the range of Moelis & Company’s valuation. He then
described the different valuation methodologies Moelis & Company had used. David
Faris gave additional commentary regarding the valuations. Questions were asked and
a discussion ensued.
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       At the Chairman’s request, Jeff Michalik presented the key terms of the latest
draft of the Restructuring Support Agreement.

        Mr. Michalik noted that the Restructuring Support Agreement contains
provisions that allow the Board to exercise its fiduciary duties, including a “fiduciary
flex” to provide that Board members do not need to take actions inconsistent with
their fiduciary duties, and a “fiduciary out” allowing the Company to terminate the
Restructuring Support Agreement if the Board determines that the transactions under
the Restructuring Support Agreement are inconsistent with the Board’s fiduciary
obligations. Questions were asked and a discussion ensued.

       At the Chairman’s request, Kurt Ogden and Simon Turner gave an update on
the Company’s liquidity and financial situation. Mr. Ogden reported that the Company
currently had $28 million in cash, of which $15 million was in foreign jurisdictions
and considered “trapped cash.” Mr. Ogden also reported that many of the Company’s
financial obligations are in different currencies than the Company’s available cash,
and with the recent tightening of restrictions under the Company’s credit facilities it
had become increasingly difficult to move cash into locations where it is required. He
reported that it was becoming difficult to meet the Company’s ongoing obligations.
Simon Turner added that while the Company has seen consistent monthly sales
volume increases during 2023, the rate of volume recovery had been slow. He noted
actions the Company had taken during the previous months to generate cash,
including executing the sale-leaseback transaction, the sale of the iron oxides
business and the sale of carbon credits, and expressed that the Company does not
have many options left to improve liquidity. Questions were asked and a discussion
ensued.

       At the Chairman’s request, Russ Stolle presented proposed resolutions
regarding (i) entry into the Restructuring Support Agreement by the Company and
certain of its subsidiaries in the same (or substantially the same) form as the version
presented to the Board on or in advance of the date hereof and (ii) the payment of
certain fees in connection therewith. The Chairman reported to the Board that the
Special Committee of the Board (the “Special Committee”) had held a meeting prior to
the Board meeting during which it had met with advisors and walked through the
same materials being presented to the Board. He reported that the Special Committee
had passed a resolution recommending that the Board adopt the resolutions being
proposed to the Board, including authorizing the entry into the Restructuring Support
Agreement as well as the Restructuring. Questions were asked and a discussion
ensued.

       Upon a motion duly made and seconded, the Board unanimously adopted the
following resolution:

      WHEREAS, the Board has carefully considered the matters set out herein
      and has formed the opinion that such matters are likely to promote the
      success of the Company for the benefit of its members as a whole having
      regard (amongst other matters) to the matters referred to in section 172 of
      the Companies Act 2006, and that such matters are also in the best
      interest of the Company’s creditors and other parties.
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WHEREAS, the Board has determined in the exercise of its business
judgment that it is advisable and in the best interests of the Company and
its stakeholders to enter into the Restructuring.

WHEREAS, the Board acknowledges and believes that the Restructuring
Support Agreement is procedurally and substantively fair to the Company
as contemplated by applicable law and the Company’s governing
documents, to the extent applicable.

NOW, THEREFORE, BE IT RESOLVED, that effective as of the date
hereof, the members of the Board or any persons previously authorised
and appointed to act as signatory on behalf of the Company in respect of
the Restructuring (together with each member of the Board, an
“Authorised Person”), acting alone or with one or more other Authorised
Persons, are hereby authorised and empowered to enter on behalf of the
Company into the Restructuring Support Agreement with such changes
and in such form as the Authorised Person or Authorised Persons
executing the same shall in his or their absolute discretion deem
appropriate.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons, acting alone or with one or more other Authorised
Persons, are hereby authorised and empowered to enter on behalf of the
Company into the Restructuring.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons, acting alone or with one or more other Authorised
Persons, are hereby authorised and empowered to take or cause to be
taken any and all such other and further action, and to execute (under the
common seal of the Company, if appropriate), acknowledge, deliver and
file any and all such agreements, certificates, instruments and other
documents in furtherance of the Restructuring to which the Company is
or will be a party, including, but not limited to, the Restructuring Support
Agreement, in substantially the form submitted to the Board, and all
agreements and documents contemplated thereby (collectively, the
“Restructuring Documents”), with such changes, additions and
modifications thereto as the Authorised Persons executing the same shall,
in their absolute discretion approve, such approval to be conclusively
evidenced by such Authorised Person’s and/or officer’s execution and
delivery thereof.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons, acting alone or with one or more other Authorised
Persons, are hereby authorised and empowered in the name of, and on
behalf of, the Company to take any and all actions to (i) obtain approval
by a court of competent jurisdiction or any other regulatory or
governmental entity of the Restructuring Documents in connection with
the Restructuring and (ii) obtain approval by any court of competent
jurisdiction or any other regulatory or governmental entity of any
Restructuring.
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        Mr. Stolle then presented proposed resolutions regarding the proposed Chapter
11 filings by the Company and certain of its subsidiaries which are also obligors under
the Debt (the “Filing Subsidiaries”) respectively. The Chairman explained to the
Board that the Special Committee had recommended that the Board approve the
Chapter 11 filings to be made by the Company and each of the Filing Subsidiaries.
Upon a motion duly made and seconded, the Board unanimously adopted the
following resolution:

      WHEREAS, the Board has carefully considered the matters set out herein
      and has formed the opinion that such matters are likely to promote the
      success of the Company for the benefit of its members as a whole having
      regard (amongst other matters) to the matters referred to in section 172 of
      the Companies Act 2006, and that such matters are also in the best
      interest of the Company’s creditors and other parties.

      NOW, THEREFORE, BE IT RESOLVED, that it is desirable and in the best
      interest of the Company, its stakeholders, its creditors and other parties
      that the Company file or cause to be filed voluntary petitions for relief (the
      “Bankruptcy Petitions”) under the provisions of the Bankruptcy Code
      and any applicable foreign ancillary proceedings for the Company and any
      of its subsidiaries; and in accordance with the requirements in the
      Company’s governing documents and applicable law, the Board hereby
      consents to, authorises and approves, the filing of the Bankruptcy
      Petitions and the foreign ancillary proceedings, if any;

      FURTHER RESOLVED, that, effective as of the date hereof, each of the
      Authorised Persons, officers of the Company and/or any persons to whom
      such Authorised Persons and/or officers delegate certain responsibilities,
      be, and are hereby authorised to execute (under the common seal of the
      Company, if appropriate) and file, on behalf of the Company and its
      subsidiaries, all petitions, schedules, lists, and other motions, papers, or
      documents, and to take any and all action that they deem necessary or
      proper to obtain such relief, including, but not limited to, any action
      necessary or proper to maintain the ordinary course operations of the
      Company’s or any of its subsidiary’s businesses.

       Mr. Stolle then presented proposed resolutions regarding the retention of
Kirkland & Ellis as general bankruptcy counsel, Jackson Walker LLP as co-
bankruptcy counsel, Moelis & Company as financial adviser, Alvarez & Marsal as
restructuring adviser, Epiq Corporate Restructuring LLP as notice and claims agent
and other advisers to the Company and its subsidiaries. The Chairman explained to
the Board that the Special Committee had recommended that the Board approve each
of the adviser appointments. Upon a motion duly made and seconded, the Board
unanimously adopted the following resolution:

      WHEREAS, the Board has carefully considered the matters set out herein
      and has formed the opinion that such matters are likely to promote the
      success of the Company for the benefit of its members as a whole having
      regard (amongst other matters) to the matters referred to in section 172 of
      the Companies Act 2006.
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      NOW, THEREFORE, BE IT RESOLVED, that, effective as of the date
      hereof, each of the Authorised Persons be, and each of them individually
      hereby is, authorised, empowered and directed to employ (i) the law firm
      of Kirkland & Ellis as general bankruptcy counsel, (ii) the law firm of
      Jackson Walker LLP as co-bankruptcy counsel, (iii) Moelis & Company as
      financial adviser, (iv) Alvarez & Marsal as restructuring adviser, (v) Epiq
      Corporate Restructuring LLP as notice and claims agent, and (vi) any other
      legal counsel, accountants, financial advisers, restructuring advisers or
      other professionals the Board or an Authorised Person deems necessary,
      appropriate or advisable (the “Advisers”); each to represent and assist the
      Company in carrying out its duties and responsibilities and exercising its
      rights under the Bankruptcy Code and any applicable law (including, but
      not limited to, the law firms filing any pleadings or responses); and in
      connection therewith, the Authorised Persons be, and are hereby
      authorised, empowered and directed, in accordance with the terms and
      conditions hereof, to execute (under the common seal of the Company, if
      appropriate) appropriate retention agreements, pay appropriate retainers
      and to cause to be filed appropriate applications for authority to retain
      such services.

      FURTHER RESOLVED, that, effective as of the date hereof, each of the
      Authorised Persons, be, and each of them individually hereby is,
      authorised, empowered and directed to execute (under the common seal
      of the Company, if appropriate) and file all petitions, schedules, motions,
      lists, applications, pleadings and other papers, and to perform such
      further actions and execute (under the common seal of the Company, if
      appropriate) such further documentation the Authorised Persons in their
      absolute discretion deem necessary, appropriate or desirable in
      accordance with these resolutions.

       Mr. Stolle then presented proposed resolutions regarding the use of cash
collateral (as such term is defined in section 363(a) of the Bankruptcy Code), the
provision of adequate protection to certain Prepetition Secured Lenders (defined below)
in accordance with section 363(a) of the Bankruptcy Code and the terms of the DIP
Facility (defined below). The Chairman explained to the Board that the Special
Committee had recommended that the Board approve the use of cash collateral (as
such term is defined in section 363(a) of the Bankruptcy Code), the provision of
adequate protection to certain Prepetition Secured Lenders (defined below) in
accordance with section 363(a) of the Bankruptcy Code and the terms of the DIP
Facility (defined below). Upon a motion duly made and seconded, the Board
unanimously adopted the following resolution:

      WHEREAS, the Board has carefully considered the matters set out herein
      and has formed the opinion that such matters are likely to promote the
      success of the Company for the benefit of its members as a whole having
      regard (amongst other matters) to the matters referred to in section 172 of
      the Companies Act 2006.

      WHEREAS, in the business judgment of each member of the Board, it is
      desirable and in the best interest of the Company, its stakeholders, its
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creditors, and other parties, to obtain the benefits from (i) the use of cash
collateral (as such term is defined in section 363(a) of the Bankruptcy
Code) (“Cash Collateral”), which is security for certain of the Company’s
prepetition secured lenders (the “Prepetition Secured Lenders”) under
certain credit facilities by and among the Company, the guarantors party
thereto and the lenders party thereto and (ii) the incurrence of debtor-in-
possession financing obligations (“DIP Financing”) by entering into a
superpriority senior secured debtor in possession term loan facility (the
“DIP Facility”) consistent with the terms and conditions set forth in the
DIP Term Sheet (as defined in the Restructuring Support Agreement) (the
administrative agent and collateral agent under the DIP Facility, the “DIP
Agent”).

WHEREAS, the Board acknowledges and understands that the Company
will obtain benefits from the incurrence of the borrowings under the DIP
Facility and the other obligations under the DIP Facility and the other DIP
Facility Documents which are necessary and convenient to the conduct,
promotion and attainment of the business of the Company.

WHEREAS, the Board acknowledges and understands that in order to use
and obtain the benefits of DIP Financing and the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, the Company will
provide certain adequate protection to the Prepetition Secured Lenders
(the “Adequate Protection Obligations”) as documented in proposed
interim and final orders (collectively, the “Financing Orders”) to be
submitted for approval of the Bankruptcy Court, and, to the extent that
the Company is required to obtain consent from the Prepetition Secured
Lenders to enter into any of the DIP Facility Documents, as defined herein,
such consent has been (or will be) obtained from the Prepetition Secured
Lenders.

WHEREAS, in the business judgment of the Board, the form, terms, and
provisions of the DIP Facility, substantially in the form submitted to the
Board, and such other agreements, certificates, instruments, receipts,
petitions, motions or other papers or documents required to consummate
the transaction considered by the Financing Orders (collectively, the “DIP
Facility Documents”), and the Company’s execution, delivery and
performance of its obligations under the DIP Facility Documents, including
without limitation the grant of security interests under the DIP Facility
Documents, and any borrowings or guaranty therewith, be, and hereby
are, in all respects, authorised and approved.

NOW, THEREFORE, BE IT RESOLVED, that effective as of the date
hereof, the Company shall be, and hereby is, authorised to enter into the
DIP Facility Documents and incur the obligations thereunder (the “DIP
Obligations”), including the borrowing of the loans under the DIP Facility,
and other obligations related to the DIP Financing and to undertake any
and all related transactions on substantially the same terms as
contemplated under the DIP Facility Documents, including granting liens
on and security interests in its assets, including the Collateral (as defined
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in the DIP Facility Documents), to the DIP Agent, and each of the
Authorised Persons be, and hereby are, authorised, empowered, and
directed in the name of, and on behalf of, the Company to execute, deliver
and perform all of the obligations and the transactions contemplated
under each of the DIP Facility Documents in the name and on behalf of
the Company, with such changes, additions, and modifications thereto as
such Authorised Person shall approve, with such approval to be
conclusively evidenced by such Authorised Person’s execution and delivery
thereof.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons be, and hereby is, authorised, in the name and on
behalf of the Company, to take all further actions, or cause all such further
actions to be taken and to execute and deliver all such further agreements,
documents, instruments, certificates recordings and filings, in the name
and on behalf of the Company, as in the determination of such Authorised
Person shall be necessary, proper or advisable in order to fully carry out
the intent and accomplish the purposes of the foregoing resolutions and
to consummate the transactions contemplated thereby, such authority to
be conclusively evidenced by the execution of any document or the taking
of any such action by such Authorised Person.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons be, and hereby is, authorised, in the name and on
behalf of the Company, to enter into any guarantees as described or
contemplated by the DIP Facility Documents or any other documents,
certificates, instruments, agreements, intercreditor agreements, any
extension amendment, any incremental agreement or any other
amendment required to consummate the transactions contemplated by
the DIP Facility Documents and perform its obligations thereunder and to
guarantee the payment and performance of the DIP Obligations of the
Company and any other guarantor thereunder.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons be, and hereby is, authorised, empowered, and
directed in the name of, and on behalf of, the Company to incur the DIP
Obligations and to approve the use of the Cash Collateral pursuant to the
Financing Orders, and any Authorised Person be, and hereby is,
authorised, empowered and directed to negotiate, execute and deliver any
and all agreements, instruments or documents, by or on behalf of the
Company, necessary to implement the postpetition financing, including
the Adequate Protection Obligations to the Prepetition Secured Lenders in
accordance with section 363 of the Bankruptcy Code, as well as any
additional or further agreements for entry into the DIP Facility Documents
and the use of Cash Collateral in connection with the Chapter 11 case,
which agreements may require the Company to grant adequate protection
and liens to the Prepetition Secured Lenders and each other agreement,
instrument or document to be executed and delivered in connection
therewith, by or on behalf of the Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto
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as any Authorised Person approves, such approval to be conclusively
evidenced by the taking of such action or by the execution and delivery
thereof.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons be, and hereby is, authorised, empowered and
directed in the name of, and on behalf of, the Company to take such
actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform and cause the performance of, each of the
transactions contemplated by the DIP Facility Documents and such other
agreements, certificates, instruments, receipts, petitions, motions, or
other papers or required documents to which the Company is or will be
party or any order entered into in connection with the Chapter 11 case
(together with the DIP Facility Documents and the Financing Orders,
collectively, the “Financing Documents”) and to incur and pay or cause
to be paid all related fees and expenses, with such changes, additions and
modifications thereto as an Authorised Person executing the same shall
approve.

FURTHER RESOLVED, that effective as of the date hereof, the Company,
as a debtor and debtor-in-possession under the Bankruptcy Code shall be,
and hereby is, authorised, empowered and directed to incur any and all
obligations and to undertake any and all related transactions on
substantially the same terms as contemplated under the Financing
Documents, including granting liens on its assets to secure such
obligations.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons be, and hereby is, authorised, empowered and
directed in the name of, and on behalf of, the Company, to execute and
deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the
postpetition financing or any of the Financing Documents or to do such
other things which shall in his or her sole business judgment be necessary,
desirable, proper or advisable in order to perform the DIP Obligations and
to give effect to the foregoing resolutions, which determination shall be
conclusively evidenced by his or her or their execution thereof.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons be, and hereby is, authorised, empowered and
directed in the name of, and on behalf of, the Company, as debtors and
debtors in possession, to file or to authorise the DIP Agent to file any
Uniform Commercial Code (the “UCC”) financing statements, any other
equivalent filings, any intellectual property filings and recordation and any
necessary assignments for security or other documents in the name of the
Company that the DIP Agent deems necessary or appropriate to perfect
any lien or security interest granted under the Financing Orders, including
any such UCC financing statement containing a generic description of
collateral, such as “all assets,” “all property now or hereafter acquired” and
other similar descriptions of like import, and to execute and deliver, and
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to record or authorise the recording of, such mortgages and deeds of trust
in respect of real property of the Companies and such other filings in
respect of intellectual and other property of the Companies, in each case
as the DIP Agent may reasonably request to perfect the security interests
of the DIP Agent under the Financing Orders.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons is hereby authorised, empowered and directed in the
name of, and on behalf of, the Company, as debtors and debtors in
possession, to take all such further actions, including, without limitation,
to pay or approve the payment of all fees and expenses payable in
connection with the DIP Facility and all fees and expenses incurred by or
on behalf of the Company in connection with the foregoing resolutions, in
accordance with the terms of the DIP Facility Documents, which shall in
their sole judgment be necessary, proper or advisable to perform any of
the Company’s obligations under or in connection with the Financing
Orders or any of the other DIP Facility Documents and the transactions
contemplated therein and to fully carry out the intent of the foregoing
resolutions.

FURTHER RESOLVED, that effective as of the date hereof, each of the
Authorised Persons is hereby authorised in the name of, and on behalf of,
the Company, to (a) prepare any amendments, waivers, consents,
supplements or other modifications under the DIP Facility Documents
and/or all other agreements, instruments, documents, notices and
certificates constituting exhibits to or that may be required, necessary,
appropriate, desirable or advisable to be executed and delivered pursuant
to the DIP Facility Documents or otherwise permitted thereunder or related
thereto (each an “Additional DIP Facility Document”) to which the
Company is a party as may be necessary, convenient, advisable, desirable
or appropriate at any time from time to time, which amendments, waivers,
consents or supplements may provide for modifications or relief under
such agreements or documents and may require consent payments, fees
or other amounts payable in connection therewith, and (b) execute and
deliver such amendments, waivers, consents, supplements or other
modifications under such agreements or documents as such Authorised
Person shall deem to be necessary, convenient, advisable, desirable or
appropriate, such execution and delivery by such Authorised Person to be
conclusive evidence of his or her determination and approval of the
necessity, appropriateness or advisability thereof.

FURTHER RESOLVED, that the Board acknowledges and approves that
(a) the signature of any Authorised Person to each DIP Facility Document,
and each Additional DIP Facility Document and any amendments, waivers,
consents, supplements or other modifications to which the Company is a
party shall be conclusive evidence of the authority of Authorised Person to
execute and deliver such documents and (b) any person dealing with any
Authorised Person in connection with any of the foregoing matters shall
be conclusively entitled to rely upon the authority of such Authorised
Person and by his or her execution of any document or agreement, and
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      the same shall be valid and binding obligations of the Company
      enforceable in accordance with its terms.

       Mr. Stolle then presented a proposed resolution regarding further actions and
prior actions. Upon a motion duly made and seconded, the Board unanimously
adopted the following resolution:

      WHEREAS, the Board has carefully considered the matters set out herein
      and has formed the opinion that such matters are likely to promote the
      success of the Company for the benefit of its members as a whole having
      regard (amongst other matters) to the matters referred to in section 172 of
      the Companies Act 2006.

      NOW, THEREFORE, BE IT RESOLVED, that, effective as of the date
      hereof, the Company is hereby authorised to authorise (and the Company
      hereby authorises) any direct or indirect subsidiary of the Company or any
      entity of which the Company or any subsidiary of such Company is the
      sole member, general partner, managing member, or equivalent manager,
      as applicable, to take each of the actions described in these resolutions or
      any of the actions authorised in these resolutions, and none of the
      resolutions contained herein, or action taken in furtherance hereto, shall
      have or cause an adverse effect on any such subsidiary or the Company’s
      interest therein (including without limitation, any automatic dissolution,
      divestiture, dissociation, or like event under applicable law).

      FURTHER RESOLVED, that, effective as of the date hereof, in addition to
      the specific authorisations heretofore conferred upon the Authorised
      Persons, the Authorised Persons, either individually or as otherwise
      required by the Company’s governing documents and applicable law, be,
      and each of them hereby is, authorised to execute (under hand or under
      the common seal of the Company if appropriate), acknowledge, deliver, and
      file any and all agreements, certificates, instruments, powers of attorney,
      letters, forms, transfer, deeds and other documents on behalf of the
      Company relating to the Restructuring.

      FURTHER RESOLVED, that, effective as of the date hereof, each of the
      Authorised Persons (and their designees and delegates) be, and hereby is,
      authorised and empowered, in the name of and on behalf of the Company,
      to take or cause to be taken any all such other and further action and to
      execute (under the common seal of the Company, if appropriate),
      acknowledge, deliver and file any and all such agreements, certificates,
      instruments and other documents and to pay all expenses, including but
      not limited to filing fees, in each case as in such Authorised Person’s or
      Authorised Persons’ absolute discretion, shall be necessary, appropriate,
      or desirable in order to fully carry out the intent and accomplish the
      purposes of the resolution adopted herein.

      FURTHER RESOLVED, that each member of the Board has received
      sufficient notice of the actions and transactions relating to the matters
      contemplated by the foregoing resolutions, as may be required by the
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governing documents of the Company, or hereby waives any right to have
received such notice.

FURTHER RESOLVED, that, effective as of the date hereof, all acts,
actions and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except
that such acts were taken before the adoption of these resolutions, are
hereby in all respects approved, confirmed and ratified as the true acts
and deeds of the Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorised
in advance by resolution of the Board.

FURTHER RESOLVED, that, effective as of the date hereof, any
Authorised Person is hereby authorised to do all such other acts, deeds
and other things as the Company itself may lawfully do, in accordance
with its governing documents and applicable law, howsoever arising in
connection with the matters above, or in furtherance of the intentions
expressed in the foregoing resolutions, including, but not limited to, the
negotiation, finalisation, execution (under hand or common seal, whether
or not expressed to be a deed, as may be necessary or appropriate) and
delivery of any other agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents whatsoever
as the individual acting may in his/her absolute and unfettered discretion
approve, deem or determine necessary, appropriate or advisable, such
approval, deeming or determination to be conclusively evidenced by said
individual taking such action or the execution thereof.
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                     FURTHER RESOLVED, that effective as of the date hereof, the Board
                     authorises each of the Advisers to perform all acts in furtherance of the
                     resolutions approved herein.

                    There being no further matters on the agenda, the Chairman then asked
             whether there was any further business to be brought before the meeting. There being
             no further business, he thanked management and other attendees for their
             participation.




             …………………………..................
             Stefan Selig
             Chairman
